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                         THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,
                                                     CASE NO. 4:21-cv-10694-TSH
        v.

 WIZIQ, INC.,

                Defendant.



                   DEFAULT JUDGMENT UNDER FED. R. CIV. P. 55(b)


Hillman, D.J.


       Defendant WizIQ, Inc. having failed to plead or otherwise defend in this action and its

default having been entered;

       Now, upon application of Plaintiff Rothschild Broadcast Distribution Systems, LLC and

affidavits demonstrating damages, and that Defendant is not an infant or incompetent person or in

the military service of the United States;

       It is hereby ORDERED, ADJUDGED, AND DECREED that Plaintiff recover from

Defendant WizIQ, Inc. a total judgment of $20,000.000.



       Dated: _3/10/22_


                                                    By the Court,


                                                    /s/ Martin Castles
                                                    Deputy Clerk


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